  Filing #Case 9:23-cv-80344-AMC Document 1-7 Entered on FLSD Docket 03/02/2023 Page 1 of 5
           165767153   E-Filed 02/01/2023 01:37:54 PM


                       IN THE CIRCUIT COURT OF THE 15TH JUDICIAL CIRCUIT
                              IN AND FOR PALM BEACH COUNTY, FLORIDA


                                              CASE NO. 50-2022-CA-009847-XXXX-MB


          KWAMAIN ONEAL,
                      Plaintiff,
          vs.




                                                                      PY
          CITY OF RIVIERA BEACH AND JOHN VANDERLAAN




                                                              CO
                      Defendant(s),




                                                         D
          ___________________________________/!


                                            SUMMONS
                                                    IE
                                                  IF
                                       RT

          THE STATE OF FLORIDA:

          TO EACH SHERIFF OF THE STATE:
                                   CE



          YOU ARE COMMANDED TO SERVE THIS SUMMONS AND A COPY OF THE
          COMPLAINT IN THIS ACTION ON DEFENDANT(S)
                            A




                OFFICER JOHN VANDERLAAN
                JOHN VANDERLAAN
                600 W. Blue Heron Boulevard
                      T




                RIVIERA BEACH FL 33404
                  O




          EACH DEFENDANT IS REQUIRED TO SERVE WRITTEN ANSWER CONTAINING ALL
                N




          DEFENSES OF LAW OR FACT TO SAID COMPLAINT ON PLAINTIFF’S ATTORNEY,
          WHOSE NAME AND ADDRESS IS

                ZEDRICK BARBER II, ESQUIRE
                THE BARBER FIRM, LLC
                4440 PGA BLVD. SUITE 600
                PALM BEACH GARDENS, FLORIDA 33410
                (561) 221-1708
                                           1




FILED: PALM BEACH COUNTY, FL, JOSEPH ABRUZZO, CLERK, 02/01/2023 01:37:54 PM
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  Tenga la amabilidad de ponerse en contacto con Tammy Anton, 205 N. Dixie Highway, West
  Palm Beach, Florida 33401; teléfono número (561) 355-4380, por lo menos 7 días antes de la
  cita fijada para su comparecencia en los tribunales, o inmediatamente después de recibir esta no-
  tificación si el tiempo antes de la comparecencia que se ha programado es menos de 7 días; si
  usted tiene discapacitación del oído o de la voz, llame al 711.”



  “Si ou se yon moun ki enfim ki bezwen akomodasyon pou w ka patisipe nan pwosedi sa, ou kali-
  fye san ou pa gen okenn lajan pou w peye, gen pwovizyon pou jwen kèk èd. Tanpri kontakte




                                                                             PY
  Tammy Anton, kòòdonatè pwogram Lwa pou ameriken ki Enfim yo nan Tribinal Konte Palm
  Beach la ki nan 205 North Dixie Highway, West Palm Beach, Florida 33401; telefòn li se (561)
  355-4380 nan 7 jou anvan dat ou gen randevou pou parèt nan tribinal la, oubyen imedyatman




                                                                   CO
  apre ou fin resevwa konvokasyon an si lè ou gen pou w parèt nan tribinal la mwens ke 7 jou; si
  ou gen pwoblèm pou w tande oubyen pale, rele 711.”




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